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            United States Court of Appeals
                 for the Fifth Circuit                         United States Court of Appeals
                                                                        Fifth Circuit

                                 ___________                          FILED
                                                                  August 31, 2020
                                 No. 20-60301                     Lyle W. Cayce
                               Summary Calendar                        Clerk
                                ___________

   Felicia Robinson,

                                                         Plaintiff—Appellant,

                                      versus

   Webster County, Mississippi; Webster County Sheriff's
   Department; Tim Mitchell, in his official capacity;
   Tim Mitchell, in his individual capacity; Santana
   Townsend,

                                            Defendants—Appellees.
                    ____________________________

                   Appeal from the United States District Court
                     for the Northern District of Mississippi
                             USDC No. 1:19-CV-121
                    ____________________________

   Before King, Smith, and Wilson, Circuit Judges.

                               JUDGMENT

           This cause was considered on the record on appeal and the briefs on
   file.
           IT IS ORDERED and ADJUDGED that the judgment of the
   District Court is AFFIRMED.



                                                           Certified as a true copy and issued
                                                           as the mandate on Sep 22, 2020
                                                           Attest:
                                                           Clerk, U.S. Court of Appeals, Fifth Circuit
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          IT IS FURTHER ORDERED that appellant pay to appellees the
   costs on appeal to be taxed by the Clerk of this Court.




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              United States Court of Appeals
                   for the Fifth Circuit                         United States Court of Appeals
                                                                          Fifth Circuit

                                                                        FILED
                                                                  August 31, 2020
                                  No. 20-60301                     Lyle W. Cayce
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   Felicia Robinson,

                                                           Plaintiff—Appellant,

                                       versus

   Webster County, Mississippi; Webster County Sheriff’s
   Department; Tim Mitchell, in his official capacity;
   Tim Mitchell, in his individual capacity; Santana
   Townsend,

                                                         Defendants—Appellees.


                  Appeal from the United States District Court
                    for the Northern District of Mississippi
                            USDC No. 1:19-CV-121


   Before King, Smith, and Wilson, Circuit Judges.
   Per Curiam:*
          Felicia Robinson appeals the district court’s Rule 12(c) dismissal of
   her 42 U.S.C. § 1983 claims premised on alleged Fourteenth Amendment


          *
            Pursuant to 5th Circuit Rule 47.5, the Court has determined that this
   opinion should not be published and is not precedent except under the limited
   circumstances set forth in 5th Circuit Rule 47.5.4.
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   violations. She also challenges the district court’s denial of her motion to
   strike various Webster County defenses, premised on judicial estoppel. We
   agree with the district court and affirm.
          While the relevant precedent is clear and requires our affirmance, we
   acknowledge that the facts of this matter, as alleged by Robinson, are
   unsettling. According to Robinson’s complaint, Webster County Sheriff
   Tim Mitchell released Daren Patterson from jail for a weekend furlough.
   Sheriff Mitchell allowed the release despite knowing Patterson’s propensity
   for violence, particularly towards Robinson, his wife. The night of his
   release, Patterson verbally and physically abused Robinson while at
   Robinson’s home. Around 9:23 p.m., Robinson called Santana Townsend, a
   Webster County Sheriff’s Department dispatcher, for help.             Because
   Robinson is related to Townsend, she called Townsend’s personal cell phone
   rather than 9-1-1 or the sheriff’s department.
          Despite Robinson’s request for help, Townsend did not send a deputy
   to Robinson’s home to retrieve Patterson. Instead, Townsend gave the
   phone to another prison trusty to speak to Patterson. After the call, Patterson
   became angrier. Around midnight, Patterson attacked Robinson, punching
   her repeatedly until she blacked out. Patterson then poured “Liquid Fire”
   drain cleaner over Robinson’s nearly naked body, resulting in severe burns.
   Robinson escaped and drove to the hospital where she received extensive
   medical treatment before being transferred to a burn center. Patterson
   returned to the Webster County Jail.
          As a result of these events, Robinson filed this action against Webster
   County, the Webster County Sheriff’s Department, Sheriff Mitchell (in his
   individual and official capacity), Dispatcher Townsend (in her official
   capacity), and Patterson. In her complaint, Robinson asserted eighteen
   counts, including various § 1983 and state law claims. Patterson did not file




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   a responsive pleading, and the clerk entered default against him. The
   remaining parties filed answers and affirmative defenses.
          Sheriff Mitchell (in his official capacity), Dispatcher Townsend, the
   Webster County Sheriff’s Department, and Webster County also moved
   jointly for judgment on the pleadings, contending Mitchell and Townsend
   should be dismissed as duplicate official-capacity defendants. The Webster
   County Sheriff’s Department filed a second motion for judgment on the
   pleadings, contending it should be dismissed as an improper defendant not
   amenable to suit. Webster County also filed a second motion for judgment
   on the pleadings, contending Robinson’s claims against it failed as a matter
   of law. Sheriff Mitchell (in his individual capacity) moved for judgment on
   the pleadings, asserting qualified immunity. Finally, Robinson moved to
   strike various defenses presented by Webster County, including that
   Patterson was not in its custody at the time of the subject incident.
          The district court addressed the parties’ motions in a single order and
   memorandum opinion. In its order and opinion, the district court denied
   Robinson’s motion to strike and granted dismissal to all parties except
   Patterson. The district court agreed that Robinson’s claims against Sheriff
   Mitchell (in his official capacity) and Dispatcher Townsend were duplicative
   of Robinson’s claims against Webster County. The court also agreed that the
   Webster County Sheriff’s Department lacked the capacity to be sued. The
   court ultimately concluded that each of Robinson’s § 1983 claims failed as a
   matter of law. Having determined that Robinson’s federal claims failed as a
   matter of law, the court declined to retain supplemental jurisdiction over
   Robinson’s state law claims.1



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            Dispatcher Townsend also filed a pro se Answer and Counterclaim, and Robinson
   filed a motion for judgment on the pleadings as to Dispatcher Townsend’s counterclaim.




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          On appeal, Robinson asserts the district court erred (1) by finding
   defendants did not have a special relationship with Robinson for purposes of
   § 1983, (2) by declining to apply the state-created danger theory, and (3) by
   declining to apply the doctrine of judicial estoppel as requested in Robinson’s
   motion to strike. Robinson also contends that the district court should retain
   supplemental jurisdiction over Robinson’s state law claims if this action is
   remanded.
          We review de novo a district court’s grant of a Rule 12(c) motion.
   Machete Prods., LLC v. Page, 809 F.3d 281, 287 (5th Cir. 2015). “A motion
   brought pursuant to Rule 12(c) is designed to dispose of cases where the
   material facts are not in dispute and a judgment on the merits can be rendered
   by looking to the substance of the pleadings and any judicially noticed facts.”
   Id. (quoting Great Plains Tr. Co. v. Morgan Stanley Dean Witter & Co., 313
   F.3d 305, 312 (5th Cir. 2002)). The standard for Rule 12(c) and Rule 12(b)(6)
   motions is the same. In re Great Lakes Dredge & Dock Co., 624 F.3d 201, 209–
   210 (5th Cir. 2010). That is, “a complaint must contain sufficient factual
   matter, accepted as true, to state a claim to relief that is plausible on its face.”
   Id. at 210 (quoting Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)). Otherwise,
   the complaint warrants dismissal. “In deciding whether the complaint states
   a valid claim for relief, we accept all well-pleaded facts as true and construe
   the complaint in the light most favorable to the plaintiff.” Id. (citing Doe v.
   MySpace, Inc., 528 F.3d 413, 418 (5th Cir. 2008)).
          To state a valid claim for relief under § 1983, “a plaintiff must (1)
   allege a violation of a right secured by the Constitution or laws of the United
   States and (2) demonstrate that the alleged deprivation was committed by a



   The district court dismissed Robinson’s motion without prejudice when it declined to
   exercise supplemental jurisdiction over the remaining state law claims.




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   person acting under color of state law.” James v. Texas Collin County, 535 F.
   3d 365, 373 (5th Cir. 2008) (internal quotation marks and citation omitted).
   As this Court has previously recognized, “[t]he right to be protected by the
   state from private violence is limited and rests on substantive due process.”
   Doe v. Columbia-Brazoria Indep. Sch. Dist., 855 F.3d 681, 688 (5th Cir. 2017)
   (citation omitted).       As a general rule, a state’s “failure to protect an
   individual against private violence simply does not constitute a violation of
   the Due Process Clause.” DeShaney v. Winnebago Cnty. Dep’t of Soc. Servs.,
   489 U.S. 189, 197 (1989). But there is an exception to this rule, which applies
   when the state—or in this case, the county—creates a “special relationship”
   with a citizen, requiring it to protect that citizen from harm. Doe ex rel. Magee
   v. Covington Cnty. Sch. Dist. ex rel. Keys, 675 F.3d 849, 855–56 (5th Cir. 2012)
   (en banc). Several other circuits have also adopted a second exception known
   as the “state-created danger” theory, applicable when the state affirmatively
   created or exacerbated a dangerous situation that led to a person’s injury. See
   Kovacic v. Villarreal, 628 F.3d 209, 214 (5th Cir. 2010). But this Court has
   declined to join our sister circuits in recognizing that theory on several
   occasions.2 See, e.g., Keller v. Fleming, 952 F.3d 216, 226–27 (5th Cir. 2020);
   Columbia-Brazoria, 855 F.3d at 688; Covington, 675 F.3d at 865; Kovacic, 628
   F.3d at 214.
           Here, Robinson’s claims are premised on an act of private violence.
   She contends that Webster County, via Sheriff Mitchell, violated her
   Fourteenth Amendment due process rights by releasing Patterson from jail
   and permitting him to terrorize her. While Robinson recognizes that under


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             “Although we have not recognized the [state-created danger] theory, we have
   stated the elements that such a cause of action would require[:] . . . ‘[1] the defendants used
   their authority to create a dangerous environment for the plaintiff and [2] that the
   defendants acted with deliberate indifference to the plight of the plaintiff.’” Covington, 675
   F.3d at 865 (quoting Scanlan v. Texas A&M Univ., 343 F.3d 533, 537–38 (5th Cir. 2003)).




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   the general rule the county is not liable for Patterson’s violent acts against
   her, Robinson contends that the district court erred by (1) finding Webster
   County did not have a special relationship with her and (2) declining to apply
   the state-created danger theory. Based on our precedent, we must disagree.
          Robinson first asserts that she has a special relationship with the
   county because the county effectively limited her liberty by releasing
   Patterson from jail. But this does not suffice to create a special relationship
   between Robinson and the county. Under the special relationship theory,
   “[t]he affirmative duty to protect arises not from the [s]tate’s knowledge of
   the individual’s predicament or from its expressions of intent to help him,
   but from the limitation which it has imposed on his freedom to act on his own
   behalf.” DeShaney, 489 U.S. at 200. In her complaint, Robinson does not
   allege that the county restricted her ability to act on her own behalf. It follows
   that the district court correctly concluded that the special relationship theory
   does not apply here.
          Robinson next asserts the district court should have applied the state-
   created danger theory. As Robinson recognizes, however, this Court has
   “‘repeatedly noted’ the unavailability of the [state-created danger] theory in
   this circuit.” Columbia-Brazoria, 855 F.3d at 688 (citation omitted). The
   district court correctly declined to stray from circuit precedent. And we
   decline as well. See In re Hidalgo Cnty. Emergency Serv. Found., 962 F.3d 838,
   841 (5th Cir. 2020).
          Accordingly, Robinson’s § 1983 claims fail as a matter of law, and the
   district court correctly dismissed them. See DeShaney, 489 U.S. at 197. We
   do not address the district court’s denial of Robinson’s motion to strike
   because the dismissal of her claims renders it moot. Likewise, we do not
   address the district court’s decision not to retain supplemental jurisdiction




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   over Robinson’s remaining state law claims because Robinson premised that
   request on this action being remanded.
          AFFIRMED.




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                    United States Court of Appeals
                                   FIFTH CIRCUIT
                                OFFICE OF THE CLERK
LYLE W. CAYCE                                                     TEL. 504-310-7700
CLERK                                                          600 S. MAESTRI PLACE,
                                                                       Suite 115
                                                              NEW ORLEANS, LA 70130

                             September 22, 2020


Mr. David Crews
Northern District of Mississippi, Aberdeen
United States District Court
301 W. Commerce Street
Aberdeen, MS 39730

      No. 20-60301      Felicia Robinson v. Webster County,
                        Mississippi, et al
                        USDC No. 1:19-CV-121


Dear Mr. Crews,
Enclosed is a copy of the judgment issued as the mandate and a
copy of the court's opinion.
Enclosed for the district court and counsel is the approved bill
of costs.

                                    Sincerely,
                                    LYLE W. CAYCE, Clerk




                                    By: _________________________
                                    Allison G. Lopez, Deputy Clerk
                                    504-310-7702


cc w/encl:
     Mr. William Robert Allen
     Mr. Daniel J. Griffith
     Mrs. Mary McKay Griffith
     Ms. Jessica Susan Malone
     Ms. Bethany A. Tarpley
     Mr. Matthew Daniel Wilson
